             Case 2:20-cv-00680-DGE Document 151 Filed 09/15/23 Page 1 of 2




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                                  UNITED STATES DISTRICT COURT
 8
                                 WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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        TOMMY BROWN,                                       CASE NO. 2:20-cv-00680-DGE
11
                                 Plaintiff,                ORDER ON MOTION TO EXTEND
12              v.                                         (DKT. NO. 146)
13      TRANSWORLD SYSTEMS INC,
14                               Defendant.

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16          This matter comes before the Court on Plaintiff Tommy Brown’s Motion for Extension

17   of Time to Extend Deadline to Respond to Defendants’ Motion to Deny Class Allegations (Dkt.

18   No. 144). (Dkt. No. 146.)

19          On August 10, 2023, Defendant Patenaude & Felix APC filed a motion to deny class

20   allegations, properly noting the motion for September 1, 2023 per Local Rule 7(d)(3). (Dkt. No.

21   144.) On August 17, 2023, Plaintiff moved to extend the noting date from September 1, 2023 to

22   November 10, 2023. (Dkt. No. 145 at 2.) Plaintiff indicates in the Motion that, on August 14,

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     ORDER ON MOTION TO EXTEND (DKT. NO. 146) - 1
              Case 2:20-cv-00680-DGE Document 151 Filed 09/15/23 Page 2 of 2




 1   2023, Defendant “declined Plaintiff’s request [via email] stating only ‘[u]pon consideration, our

 2   client is not inclined to continue its [M]otion.’” (Id. (citing Dkt. No. 147 at 4).)

 3          On August 22, 2023, Defendant re-noted their motion (Dkt. No. 144) for November 10,

 4   2023. (Dkt. No. 148.) Defendant filed a response to this Motion, stating that “[w]ithout waiving

 5   any argument it has made or may assert, . . . [Defendant] has re-noted its motion to November

 6   10, 2023, as requested by Plaintiff.” (Dkt. No. 149 at 1.)

 7          Because the motion to deny class allegations was re-noted for November 10, 2023, the

 8   instant Motion is now MOOT. (As it appears the parties were promptly able to resolve and agree

 9   on a new noting date after the motion was filed, the Court reminds the parties that when

10   conferring they should make good faith attempts to resolve issues before requesting court

11   intervention.)

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13          Dated this 15th day of September 2023.

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                                                            David G. Estudillo
16                                                          United States District Judge
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     ORDER ON MOTION TO EXTEND (DKT. NO. 146) - 2
